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                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF TEXAS
                                  TYLER DIVISION



 LIFENET, INC.,

                    Plaintiff,

           v.                                         No. 6:22-cv-00162-JDK

 U.S. DEPARTMENT OF HEALTH AND
 HUMAN SERVICES, et al.,

                    Defendants.


                DEFENDANTS’ NOTICE OF SUPPLEMENTAL AUTHORITY

       The Defendants have noted that they are preparing a final rule that will address the arbitration

process under the No Surprises Act both for air ambulance and non-air ambulance providers, and

that they anticipate that the final rule will be issued in the coming weeks. See Defs.’ Cross-Mot. for

S.J. or, in the Alternative, for Jurisdictional Discovery at 12, ECF No. 31; Defs.’ Reply Mem. in

Support of Their Cross-Mot. for S.J. or, in the Alternative, for Jurisdictional Discovery at 1, ECF No.

36.

       The Defendants respectfully inform the Court that, on June 15, 2022, they transmitted a draft

of this final rule to the Office of Information and Regulatory Affairs (“OIRA”) of the Office of

Management and Budget.            See OIRA, List of Regulatory Actions Currently Under Review,

https://www.reginfo.gov/public/do/eoDetails?rrid=250613.

Dated: June 17, 2022                           Respectfully submitted,

                                               BRIAN M. BOYNTON
                                               Principal Deputy Assistant Attorney General
                                               BRIT FEATHERSTON
                                               United States Attorney



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                                 CERTIFICATE OF SERVICE

        I hereby certify on this 17th day of Junes, 2022, a true and correct copy of this document was
served electronically by the Court’s CM/ECF system to all counsel of record.


                                               /s/ Joel McElvain
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